           Case 19-15948-amc                  Doc
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                                               Document
  «AddressBlock»Fill in this information to identify the case:
                                                               Page 1 of 6

  Debtor 1: Elease C Gindraw
  Debtor 2:
  (Spouse, if filing)
  United States Bankruptcy Court for the: Eastern District of Pennsylvania
  Case number: 19-15948


  Official Form 410S1                                                                                                                   Chapter 13

 Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of Creditor: Wilmington Savings Fund Society,                           Court claim no. (if known): 8-1
 FSB, as trustee of Stanwich Mortgage Loan Trust F,

 Last four digits of any number                                               Date of payment change:            07/01/2022
 you use to identify the debtor’s           2634
                                                                              Must be at least 21 days after
 account:
                                                                              date of this notice                                            $599.51
                                                                                                                 Principal, interest and escrow, if any
                                                                              New total payment:
 Part 1: Escrow Account Payment Adjustment


 Will there be a change in the debtor’s escrow account payment?         Yes

 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the change.
 If a statement is not attached, explain why:

                         Current Escrow Payment:     $141.68                                        New Escrow Payment:        $143.27

 Part 2: Mortgage Payment Adjustment


 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate note? No

 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law.
 If a notice is not attached, explain why:

                                Current Interest Rate:                                                       New Interest Rate:

                        Current principal and interest payment:                                   New principal and interest payment:

 Part 3: Other Payment Change


 Will there be a change in the debtor’s mortgage payment for a reason not listed above? No

 Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

 Reason for change:

                             Current mortgage payment:                                                  New mortgage payment:
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Debtor 1: Elease C Gindraw                                                      Case number (if known): 19-15948




Part 4: Sign Here


The person completing the Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if
Different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box:

     I am the creditor        X     I am the creditor’s authorized agent

                                  (Attach copy of Power of Attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information and
reasonable belief.



/s/ Tonya Leija                                                                 Date: May 20, 2022
Signature

Print:   Tonya Leija                                                            Title: Authorized Agent


Company:


Address:    1425 Greenway Drive, Suite 250
            Irving, TX 75038

Contact Phone:                                                                  Email:   PCNInquiries@lha-law.com
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                                UNITED STATES BANKRUPTCY COURT
                                  Eastern DISTRICT OF Pennsylvania



 In Re:                                                                   Case No. 19-15948

 Elease C Gindraw

                                                                          Chapter 13

                Debtor(s)

                                      CERTIFICATE OF SERVICE
I hereby certify that on 05/20/2022, a true and correct copy of the foregoing Notice of Mortgage Payment
Change was served upon all interested parties pursuant to the Court’s CM/ECF system and/or by First Class
U.S. Mail.



                                                   By: /s/ Tonya Leija

                                                    Authorized Agent for Creditor
                                                    Liepold, Harrison and Associates
                                                    1425 Greenway Drive, Suite 250
                                                    Irving, TX 75038
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Debtor
Elease C Gindraw
1247 Orthodox Street
Philadelphia, PA 19124




Debtor’s Counsel
Paul H. Young
3554 Hulmeville Rd. Ste 102
Bensalem, PA 19020

Trustee
Kenneth E. West
1234 Market Street - Suite 1813
Philadelphia, PA 19107

U.S. Trustee
Office of the United States Trustee
200 Chestnut Street Suite 502
Philadelphia, PA 19106
        Case 19-15948-amc                   Doc        Filed 05/20/22        Entered 05/20/22 11:53:35                 Desc Main
                            CARRINGTON MORTGAGE SERVICES, LLC
                            P.O. Box 5001       Document                   Page 5 of 6
                            Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




ELEASE GINDRAW                                                                 YOUR LOAN NUMBER :
1247 ORTHODOX ST
                                                                               DATE: 04/15/22
PHILADELPHIA                   PA 19124




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                            ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING JULY, 2021 AND ENDING JUNE, 2022. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                             - - - Y OUR PAY M E NT BR E AK DOW N AS OF J UL Y, 2 0 2 1 I S - - -
                             PRIN & INTEREST                                   456.24
                             ESCROW PAYMENT                                    141.68
                             TOTAL                                             597.92
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                      STARTING BALANCE  = = = >         459.75            2513.06-
JUL           141.68    *         179.62            82.89     HOMEOWNERS       82.89 HOMEOWNERS         518.54            2416.33- ALP
AUG           141.68    *         179.62            82.89     HOMEOWNERS       82.89 HOMEOWNERS         577.33            2319.60-
SEP           141.68    *         447.27            82.89     HOMEOWNERS       82.89 HOMEOWNERS         636.12            1955.22-
OCT           141.68    *         447.27            82.89     HOMEOWNERS       82.89 HOMEOWNERS         694.91            1590.84-
NOV           141.68    *                           82.89     HOMEOWNERS       82.89 HOMEOWNERS         753.70            1673.73-
DEC           141.68    *                           82.89     HOMEOWNERS       82.89 HOMEOWNERS         812.49            1756.62-
JAN           141.68    *         298.18            82.89     HOMEOWNERS       82.89 HOMEOWNERS         871.28            1541.33-
FEB           141.68    *         471.49            82.89 *   HOMEOWNERS      705.50 CITY TAX           930.07            1858.23-
                                           0                                   82.89 HOMEOWNERS
MAR           141.68 *            346.62            82.89 *   HOMEOWNERS       84.48 HOMEOWNERS         283.36 TLP        1596.09-
                                           0       705.50     CITY TAX
APR           141.68                       E        82.89     HOMEOWNERS                                342.15            1596.09-
MAY           141.68                       E        82.89     HOMEOWNERS                                400.94            1596.09-
JUN           141.68                       E        82.89     HOMEOWNERS                                459.73            1596.09-
TOT          1700.16             2370.07          1700.18                      1453.10
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $283.36. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $2,416.33-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
DATE OF THIS STATEMENT.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
Your projected escrow balance consists of the following detail (an * next to an amount
indicates this is a total that represents more than one payment to or disbursement from escrow):

Escrow pay ments up to escrow analy sis effectiv e date:
12/18               $179.62            01/19           $179.62         02/19        $4,834.27       *



           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                             ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G J U L Y, 2 0 2 2 A N D E N D I N G J U N E, 2 0 2 3.
---------------------   PROJECTED PAYMENTS FROM ESCROW - JULY, 2022 THROUGH JUNE, 2023                        --------------
                             HOMEOWNERS INSU                                   1,013.76
                             CITY TAX                                            705.50

                             TOTAL                                             1,719.26
                             PERIODIC PAYMENT TO ESCROW                          143.27       (1/12 OF "TOTAL FROM ESCROW")

-------------------- PROJECT ED ESCROW ACT IVIT Y - JULY, 2022 T HROUGH JUNE, 2023 -----------------------
               ---- PROJECTED PAYMENTS --                             -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION        PROJECTED          REQUIRED
                                ACTUAL STARTING BALANCE = = = >       1,511.47             462.93
JUL,22           143.27                     84.48         HOMEOWNERS   INSU             1,570.26              521.72
AUG,22           143.27                     84.48         HOMEOWNERS   INSU             1,629.05              580.51
SEP,22           143.27                     84.48         HOMEOWNERS   INSU             1,687.84              639.30
OCT,22           143.27                     84.48         HOMEOWNERS   INSU             1,746.63              698.09
NOV,22           143.27                     84.48         HOMEOWNERS   INSU             1,805.42              756.88
DEC,22           143.27                     84.48         HOMEOWNERS   INSU             1,864.21              815.67
JAN,23           143.27                     84.48         HOMEOWNERS   INSU             1,923.00              874.46
FEB,23           143.27                     84.48         HOMEOWNERS   INSU             1,981.79              933.25
MAR,23           143.27                     84.48         HOMEOWNERS   INSU             1,335.08 ALP          286.54 RLP
                                           705.50         CITY TAX
APR,23           143.27                     84.48         HOMEOWNERS   INSU             1,393.87              345.33
MAY,23           143.27                     84.48         HOMEOWNERS   INSU             1,452.66              404.12
JUN,23           143.27                     84.48         HOMEOWNERS   INSU             1,511.45              462.91


                                               * * * * CONTINUED ON NEXT PAGE * * * *
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--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

IF THE PROJECTED LOW POINT BALANCE (ALP) IS
GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
THEN THERE IS AN ESCROW SURPLUS....                                           THE ESCROW SURPLUS IS....                  1,048.54 *


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $274.36.

*The statement assumes all past due payments have been made toward the loan. If there are past due payments,
this amount may not be accurate.
PLEASE CALL THE ABOVE PHONE NUMBER REGARDING THE SURPLUS.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                456.24 *
                          ESCROW PAYMENT                                 143.27
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE           07/01/22       ==>            599.51

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :       YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
             HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
             WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
             ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
             D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 2 8 3 . 3 6.
             YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
             CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
             REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
             TO BE YOUR CUSHION AMOUNT.
             Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 2 8 6 . 5 4.
 YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
 THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

 Escrow pay ments up to escrow analy sis effectiv e date:
 11/20         $173.31                12/20            $173.31               01/21     $2,740.02*

 Escrow disbursements up to escrow analy sis effectiv e date:
 04/22          $84.48      HOMEOWNERS INSURANC
 05/22          $84.48      HOMEOWNERS INSURANC
 06/22          $84.48      HOMEOWNERS INSURANC



-VERBAL INQUIRIES & COMPLAINTS-
For verbal inquiries and complaints about         your mortgage loan, please contact the CUSTOMER SERVICE DEPARTMENT
for Carrington Mortgage Services, LLC, by         calling 1-800-561-4567. The CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC is toll         free and you may call from 8:00 a.m. to 8:00 p.m. Eastern Time,
Monday through Friday. You may also visit         our website at https://carringtonmortgage.com/ .

-IMPORTANT BANKRUPTCY NOTICE-
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.


-CREDIT REPORTING AND DIRECT DISPUTES-
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations. If you have concerns regarding the accuracy of any information contained in a
consumer report pertaining to this account, you may send a direct dispute to Carrington
Mortgage Services, LLC by fax to 800-486-5134 or in writing to Carrington Mortgage Services,
LLC, and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your
loan number on all pages of the correspondence.

-MINI MIRANDA-
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.

-HUD COUNSELOR INFORM AT ION-
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.

-EQUAL CREDIT OPPORTUNITY ACT NOTICE-
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
applicants on the basis of race, color, religion, national origin, sex, marital status, or age
(provided the applicant has the capacity to enter into a binding contract); because all or part
of the applicant’s income derives from any public assistance program; or because the applicant
has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
Agency that administers Carrington Mortgage Services, LLC's compliance with this law is the
Federal Trade Commission, Equal Credit Opportunity, Washington, DC 20580.

-SCRA DISCLOSURE-
MILITARY PERSONNEL/SERVICEMEMBERS:    If you or your spouse is a member of the military, please contact us
immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford significant protections
and benefits to eligible military service personnel, including protections from foreclosure as well as interest
rate relief. For additional information and to determine eligibility please contact our Military Assistance Team
toll free at 1-888-267-5474.

-NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED WRITTEN REQUESTS (QWR)-
Written complaints and inquiries classified as Notices of Error and Information Requests or QWRs must be submitted
to Carrington Mortgage Services, LLC by fax to 800-486-5134, or in writing to Carrington Mortgage Services, LLC,
and Attention: Customer Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan number on all pages
of the correspondence.   You have the right to request documents we relied upon in reaching our determination. You
may request such documents or receive further assistance by contacting the CUSTOMER SERVICE DEPARTMENT for
Carrington Mortgage Services, LLC toll free at (800) 561-4567, Monday through Friday, 8:00 a.m. to 8:00 p.m.
Eastern Time. You may also visit our website at https://carringtonmortgage.com/
